Filed 8/21/24 P. v. Jackson CA4/1
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                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



THE PEOPLE,                                                          D083382, D083384

         Plaintiff and Respondent,

         v.                                                          (Super. Ct. Nos. SCD298514,
                                                                     SCD298799)
CORBIN BLAKE JACKSON,

         Defendant and Appellant.


         APPEAL from a judgment of the Superior Court of San Diego County,
Dwayne K. Moring, Judge. Affirmed.
         Stephanie A. Lickel, under appointment by the Court of Appeal, for
Defendant and Appellant.
         No appearance for Plaintiff and Respondent.
         This appeal arises from sentencing of appellant in three different cases,
which sentences were combined resulting in a prison term of three years
eight months in prison. Restitution in two of the cases was ordered in
amounts stipulated to by appellant.
         In case No. SCD298514, Corbin Blake Jackson pleaded guilty to one
count of evading an officer with reckless driving (Veh. Code, § 2800.2,
subd. (a)) and one count of identity theft (Pen. Code, § 530.5, subd. (c)(1)) and
agreed to serve a two-year prison term consecutive to other cases.
      In case No. SCD298799, Jackson pleaded guilty to one count of vehicle
theft and agreed to a one-year consecutive term for that case.
      Jackson was sentenced to a term of three years in prison.
      The court ordered victim restitution in amounts agreed to by Jackson.
      Several months later, the court recalled the sentence to address a third
conviction. The court added a consecutive eight-month term for a total
sentence of three years eight months in prison. The court reimposed the
restitution orders, without objection from Jackson.
      Jackson filed a notice of appeal.
      Appellate counsel has filed a brief pursuant to People v. Wende (1979)
25 Cal.3d 436 (Wende) indicating counsel has not been able to identify any
arguable issues for reversal on appeal. Counsel asks the court to review the
record for error as mandated by Wende.
      We notified Jackson he could file his own brief on appeal, but he has
not responded.
                                 DISCUSSION
      As we have noted, appellate counsel has filed a Wende brief and asks
the court to review the record for error as mandated by Wende. To assist the
court in its review, and in compliance with Anders v. California (1967)
386 U.S. 738 (Anders), counsel has identified a possible issue that was
considered in evaluating the potential merits of this appeal: Whether the
court erred by not revisiting the victim restitution orders to which Jackson
had previously agreed.




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     We have reviewed the record as required by Wende and Anders. We
have not discovered any arguable issues for reversal on appeal. Competent
counsel has represented Jackson on this appeal.
                              DISPOSITION
     The judgment is affirmed.



                                                   HUFFMAN, Acting P. J.

WE CONCUR:



IRION, J.



RUBIN, J.




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